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     9l   (Rev.   lllll)   Criminal Complaint
                                                                                         FILED
                                                                                     AUSA John D. Cooke (312) 353-8788
                                                UNITED STATES DISTRICT CoURr in/All 19
                                                NORTHERN DISTRICT OF ILLINOIS
                                                      EASTERN DIVISION        r*odi6,?*r{rfro*
                                                                                        CTERK U.S. OSTNET COURT

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UNITED
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 MIGUEL DELGADO
                                   v.
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                                                    .RTMTNAL      :r^*#AG6rRArE
           I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about October                 4,2lil7,at    Chicago, in the Northern District of Illinois, Eastern Division, the
defendant violated:
          Code Section                                            Offense Description

          Title 21, United States Code, Section                   knowingly and intentionally possessed with
          8a1(aX1)                                                intent to distribute a controlled substance,
                                                                  namely, one kilogram or more of a mixture and
                                                                  substance containing a detectable amount of
                                                                  heroin, a Schedule I Controlled Substance

         This criminal complaint is based upon these facts:
          X       Continued on the attached sheet.

                                                                                   FERNANDEZ
                                                                      Special Agent, Drug Enforcement Administration
                                                                      (DEA)

Sworn to before me and signed in my presence.

 Date: January 19.2018


 City and state: Chicago. Illinois
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                            AFFIDAVIT

      I, ELIZABETH FERNANDEZ,beingduly sworn, state as follows:

      1.       I   am.       a   Special Agent   with the Drug Enforcement Administration
("DEA") and have been so employed since J:uly 2O14. As part of my duties as a DEA
                                                 ,l


Special Agent,     I   investigate criminal violations relating to narcotics traffi.cking

offbnses, including criminal violations of the Federal Controlled Substance laws,

including Title 18, United States Code, Sections 1956 and 1957, and        fitle   21, United

States Code, Sections 84L,843,846,848,952, and.963. I have taken part in electronic

surveillance methods and in the de-briefing of defendants, inforrnants, witnesses, and

others who have knowledge of the distribution, transportation, storage and
                         .

importation of controlled. substances.

      2.       I have received training in narcotics investigations, money laundering,

financial investigations, and various methods used by drug dealers to conceal and to

launder the proceeds of their illicit drug trafficking enterprises. I'have participated

in numerous investigations of violations of narcotics laws

      ,. ,     This affidavit is submitted in support of a criminal complaint alleging

that MIGUEL DELGADO violated Title 21, United States Code, Section 8a1(aX1)
(possessing   with the intent to distribute one kilogram or more ofheroin). Because this

affidavit is being submitted for the limited purpose of establishing probable cause in

support of a criminal complaint charging DELGADO with possessing with intent to
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distribute one     kilogr     more of heroin,    I have not included     each and every fact

kriown to me concerning this investigation.        I   have set forth only the facts that    I
believe are necessary to establish probable cause to believe that the defendant

committed the offense alleged in the complaint

         4.    The information set forth in this affidavit is based on, among other

things, my personal kn-owledge; infonnation given to me by other DEA agents and

agents and officers with other law enforcement agencies; my review of various

reports, documents, agd other evidence; and my training and experience.

                    FACTS ESTABLISHING PROBABLE CAUSE

         5.    On or about October 4,2OL7,at approximately 9:20 a.m., DEA agents

who were conducting a narcotics and. money laundering investigation established

surveillance in the area of the apartment building located         at   743   N. Swift Road in

Addison, Illinois, believed to be the residence of MIGUEL DELGADO. Before that

date, DELGADO had b'ecome a suspect             in the investigation     based on judicially

authorized interceptions of communications in which DELGADO discussed narcotics-

related activity.

         6.    At   approximately 10:50 a.m. on         or about   October      4,   2017, law

enforcement observed DELGADO,I carrying                a black leather-like bag over his
shoulder, exit the front door of the apartment building. Law enforcement observed

that DELGADO also had a bag of trash in one hand and observed DELGADO throw



1   Law enforcement identified DELGADO based on their subsequent encounter with him,        as
described below.



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the bag of trash in a dumpster and then walk towards the center of the parking lot

next to the building.

    . 7,      Law enforcement subsequently approached DELGADO as he was
entering a black 2Ot4 Mercedes CLC-zlO car registered to DELGADO and another

individual. Law enforcement identified themselves to DELGADO as law enforcement

officers and asked DELGADO whether they could speak with him, to which

DELGADO agreed. Law enforcement asked DELGADO his narne, and DELGADO

identified himself as Miguel DELGADO and provided law enforcement officers with

his driver's license, which showed that his name is Miguel A. DELGADO. Law

enforcement asked DELGADO whether he lived             at 743 N. Swift   Road, to which he

replied that he clid and pointed to one of the apartments on the top floor of the

building, later identified   as   Apartment No. 201, as explained below. Law enforcement

asked DELGADO what was in his black bag, which DELGADO had removed from his

person and had placed on the front passengers seat of the Mercedes. DELGADO

replied that there was nothing           in it. Law enforcement   asked DELGADO for

permission to search the bag, and DELGADO gave verbal consent to do so.

       8.     Upon opening DELGADO's black bag, law enforcement observed. two

rectangular packages \Mrapped in brown cellophane, which is consistent with the

manner in which narcotics or narcotics proceeds are packaged. DELGADO then told

law enforcement that the packages did not contain narcotics but instead contained

approximately $40,000 in United States currency. Law enforcement asked

DELGADO whether agents could take him back to his apartment and talk to him in




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private about where the money came from, and DELGADO agreed. DELGADO then

led law enforcement to Apartment No. 201 at743 N. Swift Road.

      9.     On the way up the stairs to DELGADO's apartment, law enforcement

asked DELGADO whether agents were going to find anything            'n the apartment.

DELGADO stated        that he had approximately 2.5 kilograms of heroin             and

approximately $6,000     in U.S. currency inside the apartment.           Upon reaching

Apartmentzll,law enforcement knocked and announced themselves at the door and
then used the key provided by DELGADO to enter the apartment. Law enforcement

conducted a protective sweep of the residence and then brought DELGADO inside

and asked him to sit at the dining table. DELGADO stated that the heroin was

concealed in the ceiling of the bathroom and that the $6,000 was in the bedroom.

      10.    Law enforcement removed a ceiling tile in the bathroom, searched above

the remaining tiles, and located three plastic bags containing approximately 2,566.4

grams of a grey powder-like substance that DEA laboratory results confirmed

contained heroin. Law enforcement found      in the apartment's rear bedroom a metal

automobile part, which law enforcement seized and transported to a DEA office,

where the auto part was cut open and found   to contain a white plastic   bag containing

approximately 363 grams of a powder-like substance that DEA laboratory results

confi rrned contained cocaine.

      11.    Law enforcement transported DELGADO from his apartment to the

Addison Police Department for further processing the same day, on or about October

4,2OL7.At approximately 1:59 p.m., law enforcement conducted an audio- and video-




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recorded interview of DELGADO. Prior to the interview, law enforeement advised

DELGADO of his rights, and DELGADO provided law enforcement with oral and

written acknowledgrnent that he understood his rights, that he was willing to waive

thoserights,andthathewaswillingtobeintervierredbyagents.

       12.   During the recorded interrriew, DELGADO told law enforcement, among

other things, that, afber he had exited his residence earlier that day and had been

approached by law enforcement, he spoke     willinglywith law enforcement and was in

possession of $40,000 that did not belong to him. DELGADO stated that he gave law

enforcement oral consent to have his apartment searched that day. DELGADO stated

also that he worked for a man who would receive weekly shipments of multiple

kilograms of cocaine and heroin, that the narcotics would be transported via semi-

trucks and would be picked up from truck stops throughout Illinois, and that the

truck drivers would be paid for the prior week's narcotics shipment.

                                  CONCLUSION

      13.    Based on the foregoing,   I   respectfully submit that there is probable

cause to believe that, on or about October 4,2OL7,in the Northern   District of Illinois,

Eastern Division, MIGUEL DELGADO did knowingly andintentionally possess with

intent to distribute a controlled substance, namely, one kilogram or more of a mixture

and substance containing a detectable amount of heroin, a Schedule I Controlled
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    Substance, in violation of 21 U.S.C. $ 841(a)(1).




                                            Administration


                          SWORN to before me on January 19, 2018.



    United States Magistrate Judge




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